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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                                 Case No. 05-80955-41

MARLON WELCH,                                                       HON. AVERN COHN

     Defendant.
_______________________________________/

     ORDER DENYING PETITIONER’S MOTION TO REOPEN THE TIME TO FILE AN
                           APPEAL (Doc. 1530)

                                            I.

        This is a criminal case. In 2007, defendant plead guilty under a Rule 11

agreement to one count of conspiracy to distribute a controlled substance and

conspiracy to launder money. At the time, defendant’s estimated guideline range was

210 - 262 months. Defendant was sentenced to 135 months based on the Court’s

finding that the guidelines range was 135 - 168 months, having concluded defendant’s

criminal history was overstated. Defendant did not appeal.

        Thereafter, in 2015, defendant filed a motion for a sentence reduction under 18

U.S.C. § 3582 based on amendments to the crack cocaine guidelines. (Doc. 1507).

The Court denied the motion. (Doc. 1514). Defendant did not appeal.

        In November 2016, defendant filed a second motion under § 3582 based on the

amendments to the crack cocaine guidelines. (Doc. 1519). The Court denied the

motion in an order dated February 3, 2016. (Doc. 1529).

        Before the Court is a letter requesting an “out of time appeal” so he may appeal
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the denial of his second motion under § 3582. The Court construes the letter as a

motion to reopen the time for filing a notice of appeal. For the reasons that follow, the

motion is DENIED.

                                             II.

                                             A.

       Fed. R. App. P. 4(a)(1) (b) states that a notice of appeal must be filed in a

criminal case within sixty (60) days of the entry of the judgment or order from which the

appeal is taken. It is clear that defendant did not file a notice of appeal within 60 days of

the Court’s February 3, 2016 order.

                                             B.

       However, the rule also provides grounds for extending the time in which to file a

notice of appeal. Under Fed. R. App. P. 4(a)(5)(A), a district court may extend the time

to file a notice of appeal if:

       (I) a party so moves no later than 30 days after the time prescribed by this Rule
       4(a) expires; and

       (ii) . . . that party shows excusable neglect or good cause.

Also under Rule 4(a)(5), no extension may exceed the later of 30 days after the initial

appeal time has expired, or 14 days after the date the order granting an extension is

entered. See Fed. R. App. P. 4(a)(5)(C).

       Here, the Court’s last order was filed on February 3, 2016. Defendant had 60

days, or until April 3, 2016, in which to file a notice of appeal. Under Rule 4(a)(5)(A),

Petitioner had another 30 days, or until May 3, 2016, to file for an extension of time to

file an appeal. Defendant’s letter motion is dated July 22, 2016. This is well beyond the


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30 days after the expiration of the appeal time. Thus, defendant is unable to obtain an

extension of the time to file an appeal under Rule 4(a)(5).

       Under Fed. R. App. P. 4(a)(6), a district court may reopen the time to file an

appeal for a period of fourteen days after the date when its order to reopen is entered,

so long as all of the following conditions are satisfied:

       (A) the court finds that the moving party did not receive notice under Federal
       Rule of Civil Procedure 77(d) of the entry of the judgment or order sought to be
       appealed within 21 days after entry;

       (B) the motion is filed within 180 days after the judgment or order is entered or
       within 7 days after the moving party receives notice under Federal Rule of Civil
       Procedure 77(d) of the entry, whichever is earlier; and

       (C) the court finds that no party would be prejudiced.

       Fed. R. App. P. 4(a)(6) is the exclusive remedy for reopening the time for filing a

notice of appeal after the statutory time period for filing such an appeal has expired.

See Bowles v. Russell, 432 F.3d 668, 672 (6th Cir. 2005). A federal district court lacks

the authority to consider a motion to reopen the time for an appeal which is not filed

within Rule 4(a)(6)'s time constraints. See Martin v. Straub, 27 Fed. Appx. 337, 338

(6th Cir. 2001).

       Here, defendant says he did not receive timely notice of the Court’s February 3,

2016 order. Defendant says he did not receive a copy of the Court’s order until “May

2016.” Accepting defendant’s statement as true, he still has not satisfied Rule 4(a)(6)’s

requirements. Under subsection (B), the motion must be filed within 180 days after the

judgment or order is entered or within 7 days after the moving party receives notice of

the entry, whichever is earlier. Defendant did not file his motion within 7 days of “May

2016.” Because defendant filed his motion beyond the 7 day time limit, the Court

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cannot extend the time for filing an appeal. See United States v. Personal Property

Seized From D.C. Cycle Shop, 229 F.3d 1155, 2000 WL 1175643 (6th Cir. 2000).

      SO ORDERED.



                                               S/Avern Cohn
                                               AVERN COHN
                                               UNITED STATES DISTRICT JUDGE

Dated: August 10, 2016
      Detroit, Michigan




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